Case 1:19-cv-09412-AJN-OTW Document 76

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Tomas Medina,
Plaintiff,
-V—
City of New York, ef al.,

Defendants.

 

 

ALISON J. NATHAN, District Judge:

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19-cv-9412 (AJN)

ORDER

On February 20, 2020, Defendant Fabio Nunez filed a motion to dismiss. Pursuant to
Rule 3.F of this Court’s Individual Practices in Civil Cases, on or before March 2, 2020, Plaintiff

must notify the Court and his adversary in writing whether (1) he intends to file an amended

pleading and when he will do so or (2) he will rely on the pleading being attacked. Plaintiffis on

notice that declining to amend his pleadings to timely respond to a fully briefed argument in

Defendant Nunez’s February 20 motion to dismiss may well constitute a waiver of the Plaintiff's

right to use the amendment process to cure any defects that have been made apparent by
Defendant Nunez’s briefing. See Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC., 797
F.3d 160, 190 (2d Cir. 2015) (leaving “unaltered the grounds on which denial of leave to amend

has long been held proper, such as undue delay, bad faith, dilatory motive, and futility”).

If Plaintiff chooses to amend, Defendant Nunez may then (a) file an answer; (b) file a

new motion to dismiss; or (c) submit a letter stating that he relies on the initially-filed motion to

dismiss.

Nothing in this Order alters the time to amend, answer or move provided by the Federal

Rules of Civil Procedure or Local Rules.

SO ORDERED.

 

 
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Dated: February at , 2020
New York, New York

   

J ALISON J. NATHAN
United States District Judge

 

 
